                 Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 1 of 14


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         13                              UNITED STATES DISTRICT COURT
         14                                EASTERN DISTRICT OF CALIFORNIA
         15 RALPH COLEMAN,                                        Case No. Civ S 90-0520 LKK-JFM
         16                  Plaintiffs,

         17           v.
               ARNOLD SCHWARZENEGGER, et al.,
         18
                            Defendants.
         19
         20                                                       Case No. Civ. S-94-0671 LKK/GGH
               JERRY VALDIVIA, et al.,
         21                                                       DECLARATION OF ERNEST GALVAN
                             Plaintiffs,                          IN SUPPORT OF PLAINTIFFS’ MOTION
         22                                                       FOR INJUNCTIVE RELIEF REQUIRING
                      v.                                          TIMELY ACCESS TO INPATIENT
         23 ARNOLD SCHWARZENEGGER, et al.,                        PSYCHIATRIC HOSPITALIZATION
         24          Defendants.                                  Hearing Date: July 25, 2008
                                                                  Time:         10:00 a.m.
         25                                                       Location:     Courtroom 4
                                                                  Judge:        Hon. Lawrence K. Karlton
         26
         27
         28

                DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]      TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 2 of 14


             1                         TABLE OF ABBREVIATIONS/ACRONYMS
             2
             3 BPH:                 Board of Parole Hearings
             4 CCCMS:               Correctional Clinical Case Manager System
             5 CDCR:                California Department of Corrections and Rehabilitation
             6 CRIPA                Civil Rights of Institutionalized Persons Act
             7 CTC:                 Correctional Treatment Center
             8 DC                   Deputy Commissioner
             9 DMH:                 Department of Mental Health
         10 DOF:                    Director of Finance
         11 EOP:                    Enhanced Outpatient Program
         12 HQ:                     Headquarters
         13 LOC:                    Level of Care
         14 MHCB:                   Mental Health Crisis Bed
         15 MOU:                    Memorandum of Understanding
         16 OHU:                    Outpatient Housing Unit
         17 PCH                     Probable Cause Hearing
         18 RC:                     Reception Center
         19 RSTS                    Revocation Scheduling and Tracking System
         20 RTC                     Return to Custody
         21
         22
         23
         24
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         28

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[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR          Document 2847       Filed 06/25/08    Page 3 of 14


             1         I, Ernest Galvan, do hereby declare as follows:
             2         1.     I am an attorney admitted to practice law in California and a partner in the law firm
             3 Rosen, Bien & Galvan, one of the counsel of record for Plaintiff class in this case. I have
             4 personal knowledge of the matters set forth herein and if called as a witness I could competently
             5 so testify. I make this declaration in support of Plaintiffs’ Motion for Injunctive Relief Requiring
             6 Timely Access To Inpatient Psychiatric Hospitalization.
             7         2.     Plaintiffs’ Motion is directed at defendants’ policy and practice of denying
             8 otherwise eligible CDCR patients admission to DMH inpatient programs solely because they
             9 have not yet completed their parole revocation process or because they have thirty-five (35) days
         10 or less to serve.
         11            3.     Attached hereto as Exhibit 1 is a true and correct copy of an Order in Valdivia v.
         12 Schwarzenegger, Civ. 94-671 LKK, dated January 15, 2008. The January 15, 2008 order
         13 requires that “defendants must undertake and sustain work toward the earliest practical solution
         14 to providing due process to parolees who appear, either in the judgment of their attorneys or
         15 defendants’ staff, too mentally ill to participate in revocation proceedings.” The January 15,
         16 2008 Order requires the development of policies and procedures that “must include methods to
         17 expedite treatment and to provide due process . . . .”
         18            4.     Prior to the issuance of the January 15, 2008 Order, the Valdivia Special Master
         19 documented systemic problems in ensuring that persons with severe mental illness received
         20 access to treatment during the parole violation hearing process. Attached hereto as Exhibit 2 is a
         21 true and correct copy of excerpts of the First Report of the Special Master on the Status of
         22 Conditions of the Remedial Order, filed on September 14, 2006 (Valdivia Docket No. 1302).
         23 The excerpts attached at Exhibit 2 hereto include the cover page and pages 49-54. The Special
         24 Master reported the following facts that are pertinent to this motion:
         25        a) On June 15, 2006, Plaintiffs’ counsel in Valdivia sent a notice of violation to CDCR
         26            regarding the practice of returning parolees to prison “for psychiatric treatment.”
         27            (Exhibit 2 at 50-51.) This process was often referred to as the “psychiatric return”
         28            process. (Id.) One of the defects of the psychiatric return process, according to Plaintiffs’
                                                                 1
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR           Document 2847      Filed 06/25/08     Page 4 of 14


             1        notice of violation, was “‘lack of adequate mental health care in the prison system.’”
             2        (Exhibit 2 at 51.) Under Defendants’ practice, parolees were to be returned for a one-
             3        year term “unless a CDCR clinician certifies mental health improvement sufficient for
             4        earlier release.” (Exhibit 2 at 50.)
             5     b) The Special Master noted that it appeared “that clinicians commonly are not familiar with
             6        the assessments needed to determine whether the parolees are stabilized sufficient for
             7        release, so there is a substantial risk that these parolees are held for months longer than
             8        necessary.” (Exhibit 2 at 53.)
             9        5.     Attached hereto as Exhibit 3 is a true and correct copy of an excerpt of the Second
         10 Report of the Special Master on the Status of Conditions of the Remedial Order, filed in Valdivia
         11 on June 11, 2007 (Valdivia Docket No. 1335). The excerpted pages include pages 11-17 and 31-
         12 32. The Special Master reported the following facts that are pertinent to this motion:
         13        a) Regarding the “psychiatric return” process, the Special Master noted that “[t]he purpose
         14           of the revocations – treatment – is undermined by the uncertainties of care provided in
         15           county jails; deficiencies in care in CDCR Reception Centers and other facilities, as
         16           documented in Coleman v. Schwarzenegger; and difficulty accessing Department of
         17           Mental Health (DMH) treatment, particularly with questions raised as to the legal bases
         18           for either system to retain custody. There has not been a reliable mechanism to ensure
         19           that these parolees reach treatment expeditiously.” (Exhibit 3 at 12.)
         20        b) The Special Master noted that “Significant numbers of parolees revoked under the psych
         21           return process in the last half of 2006 did not reach treatment, and/or did not appear to be
         22           reassessed for hearing participation, for prolonged periods.” (Exhibit 3 at 14.)
         23        c) The Special Master noted that “On January 12, 2007, CDCR Secretary Tilton issued a
         24           memorandum terminating the return of mentally ill parolees to prison ‘solely for
         25           psychiatric services.’” (Exhibit 3 at 16.)
         26        d) The Special Master noted: “Efforts have been directed at due process and stabilization for
         27           a particular subset of the mentally ill, as described above; that population is likely to be
         28           severely and chronically ill. Among them, there will be parolees whose treatment needs
                                                              2
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 5 of 14


             1        exceed CDCR’s capacity. As the parties finalize these processes, the Special Master will
             2        look for interagency coordination and agreement with the Department of Mental Health to
             3        ensure that this population has timely access to that agency’s acute and intermediate care
             4        programs.” (Exhibit 3 at 31-32.)
             5        6.     Attached hereto as Exhibit 4 is a true and correct copy of an excerpt of a document
             6 titled “CDCR Valdivia Compliance Report, June 1, 2006 to September 26, 2007.” I received this
             7 document by email from Supervising Deputy Attorney General Vickie Whitney on
             8 September 26, 2007. The report states that it was produced by the CDCR Office of Legal Affairs
             9 Court Compliance Team at the direction of Special Master Chase Riveland. The excerpts
         10 attached at Exhibit 4 hereto include the cover page and pages 69-70. The CDCR Valdivia
         11 Compliance Report states the following regarding access to DMH inpatient facilities for persons
         12 pending parole revocation proceedings:
         13                  CDCR has identified several key issues that must be resolved before
                             a meaningful process for the mentally ill parolee population can be
         14                  developed and implemented. The two most significant issues
         15                  remaining are as follows:

         16                  1) Access to the Department of Mental Health (DMH) for parolees
         17                  who may be or are found unable to meaningfully participate in the
                             parole revocation process:
         18
                             Issue: Whether a parolee must be in revoked status in order to be
         19                  accepted at a DMH facility?
         20
                             Plaintiffs have asked whether DMH has agreed to accept parolees
         21                  who are not in revoked status. Plaintiffs have further requested that
                             CDCR report on any legal barriers to access to DMH beds for
         22                  parolees going through the revocation process or in revoked status.
         23
                             Penal Code Section 2684 is on point, dealing with transfer of inmates
         24                  to state hospitals. That section provides, “If, in the opinion of the
                             Director of Corrections, the rehabilitation on any mentally ill,
         25                  mentally deficient, or insane person confined in a state prison may be
         26                  expedited by treatment at any one of the state hospitals under the
                             jurisdiction of the State Department of Mental Health or the State
         27                  Department of Developmental Services, the Director of Corrections,
                             with the approval of the Board of Prison Terms, shall certify that fact
         28
                             to the director of the appropriate department who shall evaluate the
                                                                  3
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 6 of 14


             1               prisoner to determine if he or she would benefit from care and
                             treatment in a state hospital…”
             2
             3               DMH has historically interpreted this section to require that a parolee
                             be in revoked status in order for transfer pursuant to the above
             4               section. However, CDCR interprets the section to cover all persons
                             confined to the custody of CDCR, which includes parolees pending
             5               revocation.
             6
                             At the time the parties began meeting in early 2007 to negotiate a
             7               process for the mentally ill parolee population unable to meaningfully
                             participate in the revocation process, DMH refused to accept parolees
             8               unless they are in revoked status. However, the BPH cannot revoke a
             9               parolee who is too mentally ill to participate in the revocation
                             process. Many parolees in need of acute mental health care to restore
         10                  the ability to participate in the revocation process require DMH
                             placement, but are not accepted because they have not completed the
         11
                             revocation process. This is a cycle which results in suspension of the
         12                  revocation process but the parolee is unable to receive the treatment
                             necessary to enable him/her to complete the process.
         13
                             DMH has been directed to accept parolees in need of psychiatric
         14
                             treatment from CDCR regardless of their revocation status. A
         15                  Memorandum of Understanding between CDCR and DMH has been
                             updated to reflect the direction that parolees who are deemed unable
         16                  to meaningfully participate in the revocation process are in within the
         17                  legal custody of CDCR and that DMH will accept such parolees for
                             treatment, where possible, giving them the same priority/status as
         18                  other CDCR inmates are given. The updated Memorandum of
                             Understanding is currently being approved by all necessary parties.
         19
         20           7.     Attached hereto as Exhibit 5 is a true and correct copy of an excerpt of the Third

         21 Report of the Special Master on the Status of Conditions of the Remedial Order, filed in Valdivia
         22 on November 28, 2007 (Valdivia Docket No. 1388.) The excerpts attached at Exhibit 5 hereto
         23 include the cover page and pages 20-24, 74-75, 77-79. The Special Master reported the
         24 following facts that are pertinent to this motion:
         25        a) The Special Master reported that Defendants had identified approximately 80 parolees in

         26           2007 up to the time of the report for whom proceedings were suspended due for mental

         27           health reasons. (Exhibit 5 at 22.)

         28
                                                                 4
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR          Document 2847       Filed 06/25/08     Page 7 of 14


             1     b) The Special Master noted that those parolees held in suspended status at Reception
             2        Centers were generally treated in the Enhanced Outpatient Program and that “Defendants
             3        report that they have removed some obstacles to placing these parolees in the Department
             4        of Mental Health when needed and negotiations concerning those transfers are underway.”
             5        (Exhibit 5 at 22; see also, id. at 75 (“Access to early referrals and treatment has improved
             6        and there is progress on the longstanding difficulty of transfers to the Department of
             7        Mental Health.”)
             8     c) The Special Master recommended that the Court order a timetable for “the earliest
             9        practical solution to providing due process for parolees who appear, either in the judgment
         10           of their attorneys or Defendants' staff, too mentally ill to participate in revocation
         11           proceedings,” including the development of policies and procedures to that “include
         12           methods to expedite treatment .” (Exhibit 5 at 77-78.) These recommendations became
         13           the basis for the Court’s January 15, 2008 Order, Exhibit 1 hereto.
         14           8.     Attached hereto as Exhibit 6 is a true and correct copy of an excerpt of the Fourth
         15 Report of the Special Master on the Status of Conditions of the Remedial Order, lodged with the
         16 Court in Valdivia by email on April 28, 2008 (and not yet entered on the docket). The excerpts
         17 attached at Exhibit 6 hereto include the cover page and pages 27-30, 73-74. The Special Master
         18 reported the following facts that are pertinent to this motion:
         19        a) The Special Master noted that Defendants’ efforts to develop policies and procedures in
         20           compliance with the January 15, 2008 Order was characterized by frequent changes of
         21           basic approach:
         22                  Staff have taken at least five very different approaches to this issue in
                             2007 and 2008; several were described as near completion when
         23                  Defendants chose to reformulate major components. While plan
         24                  components are certainly within Defendants’ discretion, such
                             changes carry the risk of necessary features not being carried
         25                  forward, ramifications of new components on other components not
         26                  being anticipated, and delays attendant to working this through. The
                             most recent of these changes occurred two weeks before the Court-
         27                  ordered deadline for a full implementation plan and is largely
                             unformed as of this writing.
         28
                                                                  5
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                   Case 2:90-cv-00520-KJM-SCR          Document 2847         Filed 06/25/08    Page 8 of 14


             1      (Exhibit 6 at 27.)
             2      b) The Special Master noted the importance of access to inpatient mental health beds:
             3                 Ensuring that class members have access to Department of Mental
                               Health care will be a critical component of the plan. The Special
             4                 Master has been clear in his expectations, at least since his Second
             5                 Report, that all involved agencies must address this issue. Defendants
                               have represented, since August 2007, that an agreement on-point was
             6                 imminent. Recent developments indicate much more work remains.
             7      (Exhibit 6 at 28.)
             8      c) The Special Master reported that parole proceedings had been suspended due to mental
             9          illness on “just over 180 occasions in the 13 months” since Defendants’ “interim
         10             procedure” had been in place. Id. at 28.
         11         d) The Special Master noted the areas of overlap between Valdivia and Coleman:
         12                    Valdivia intersects with the Coleman case primarily in three
         13                    instances. First, there is a need to house and treat parolees too
                               mentally ill to participate in their hearings and to monitor their
         14                    conditions so that hearings may be held consistent with due process.
                               Second, a subset of those people may be diagnosed as needing
         15
                               treatment at the Department of Mental Health, and there have been
         16                    historical barriers to their being placed there. Defendants have been
                               negotiating an addendum to the Memorandum of Understanding
         17                    between the two Departments, which would allow such placements,
         18                    for at least nine months.

         19                    The timeliness and quality of care for the mentally ill parolees in
                               reception centers also intersects with Coleman to the extent that if the
         20                    level of care available to any mentally ill parolee in those facilities is
         21                    enhanced through Coleman activities it may correspondingly improve
                               the care for parolees.
         22
                    (Exhibit 6 at 73-74.)
         23
                        9.     During the meet-and-confer process arising from the January 15, 2008 Order,
         24
                 Plaintiffs’ counsel has learned that the resolution of the DMH inpatient access issued promised in
         25
                 CDCR’s September 26, 2007 Compliance Report (Exhibit 4 hereto), and anticipated by the
         26
                 Special Master in First (Exhibit 2), Second (Exhibit 3), Third (Exhibit 5), and Fourth (Exhibit 6)
         27
                 Special Master reports, has, in fact, never materialized.
         28
                                                                   6
                  DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]        TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR          Document 2847       Filed 06/25/08    Page 9 of 14


             1         10.    Instead of delivering on their promise to remove unfounded obstacles to DMH
             2 access, CDCR in late March and early April 2008 suddenly switched directions in their proposed
             3 procedures for handling revocation proceedings for persons whose mental illness prevented them
             4 from participating in hearings. Instead of suspending the proceedings to allow for treatment,
             5 CDCR proposed holding revocation hearing regardless of whether the parolee was competent to
             6 participate and assist counsel in defending against the charges.
             7         11.    The first written notice Plaintiffs received of this change was an in email of
             8 March 20, 2008. A true and correct copy of this email and its attachments is attached hereto as
             9 Exhibit 7. The March 20, 2008 letter refers at page 1 to a “modification to the approach by
         10 Defendants,” which is further described at page 2 as including a revocation hearing regardless of
         11 the parolee’s inability to participate and assist counsel. The Chart attached to Exhibit 7 includes
         12 questions from the Special Master in the left-hand column and answers from Defendants in the
         13 right-hand column. The first question on the Chart is: “Access to DMH for parolees pending
         14 revocation or in suspended revocation status: defendants reported that this issue is still being
         15 negotiated. What is the current status?” The answer is given in the next column as: “In the
         16 approach currently being contemplated by the Defendants, the parolee may be revoked and, if the
         17 parolee qualifies, would be sent to DMH via the standard Coleman guidelines. Given the change
         18 in direction, there will need to be further negotiations.”
         19            12.    Attached hereto as Exhibit 8 is a true and correct copy of an email I received from
         20 Deputy Attorney General Jessica Devencenzi on March 25, 2008, attaching a copy of 28 CFR
         21 § 2.8 (Matthew Bender 2008), and 68 Federal Register 70709 (Dec. 19, 2003) regarding the
         22 adoption of this regulation, governing parole revocation proceedings in the District of Columbia,
         23 as operated by the United States Parole Commission.
         24            13.    Attached hereto as Exhibit 9 is a true and correct copy of a document I received by
         25 email from Deputy Attorney General Jessica Devencenzi on April 3, 2008, titled
         26 “Comprehensive Plan Addressing The Needs Of Parolees In The Revocation Process Who Are
         27 Mentally Incompetent.” This document provides at pages 6-7 that the revocation hearing is take
         28 place regardless of the outcome of an evaluation of the parolee’s ability to participate. In
                                                             7
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR          Document 2847       Filed 06/25/08     Page 10 of 14


             1 addition, this plan at pages 3-4 restricts the ability of parolees’ appointment counsel to visit
             2 clients in Mental Health Crisis Bed care, provides that proceedings should be postponed
             3 indefinitely if the treatment facility declares that the parolee is “unavailable” to meet with
             4 counsel.
             5         14.    Attached hereto as Exhibit 10 is a true and correct copy of a document I received
             6 by email from Deputy Attorney General Jessica Devencenzi on April 25, 2008, titled
             7 “Comprehensive Plan Addressing The Needs Of Parolees In The Revocation Process Who Are
             8 Mentally Incompetent.” This document states at page 1:
             9                Prior to revocation and during the revocation process, California
                              Department of Corrections and Rehabilitation (CDCR) staff will
         10                   consider, where appropriate and resources are available, mental
         11                   health treatment for parolees who appear incompetent. In custody,
                              these parolees may be placed in Mental Health Crisis Beds or the
         12                   Enhanced Outpatient Program, if clinically appropriate. If
         13                   appropriate, CDCR clinicians may refer revoked parolees to the
                              California Department of Mental Health.
         14
         15 This April 25 plan, like the April 3 predecessor, carries over the prohibition on attorneys meeting
         16 with clients in the Correctional Treatment Centers. (Exhibit 10 at page 4.)
         17            15.    Attached hereto as Exhibit 11 is a true and correct copy of a letter from my office
         18 to Defendants dated April 30, 2008 (without attachments), responding to the April 25, 2008
         19 version of the “Comprehensive Plan Addressing The Needs Of Parolees In The Revocation
         20 Process Who Are Mentally Incompetent.” This letter at page 7 requests that Defendants confirm
         21 whether DMH has agreed to accept parolees at all stages of the revocation process:
         22                   CDCR’s plan does not confirm that parolees at all stages for the
                              revocation process will have access to DMH if they require DMH
         23                   level of care. DMH placements must be available on an expedited
         24                   basis throughout the revocation process, from the time the parole
                              hold is placed to re-release to parole. Please confirm agreement by
         25                   DMH to accept parolees throughout the revocation process and
                              produce the written Memorandum of Understanding executed by
         26
                              DMH and CDCR reciting this agreement. Plaintiffs request that
         27                   counsel for DMH and a client representative from DMH be present at
                              the meeting to address this issue.
         28
                                                                  8
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                 Case 2:90-cv-00520-KJM-SCR          Document 2847      Filed 06/25/08    Page 11 of 14


             1         16.   On May 5, 2008, I attended a meet-and-confer in Sacramento with representatives
             2 of the Board of Parole Hearings, CDCR Health Care Services Division, and the CDCR General
             3 Counsel. The CDCR participants at the meeting confirmed that DMH would not treat persons
             4 confined by CDCR on parole violation charges until parole revocation hearings were complete.
             5         17.   Attached hereto as Exhibit 12 is a true and correct copy of a letter from Deputy
             6 Attorney General Jessica Devencenzi received in my office on May 12, 2008. The letter
             7 responds to the above-quoted request for confirmation that DMH will accept persons being held
             8 in CDCR institutions pending revocation by stating that DMH will only accept such parolees
             9 “once revoked,” and then only “so long as the parolee’’s [sic] term of confinement exceeds 35
         10 days.” (Exhibit 12 at page 4.) The entire passage reads as follows:
         11                  Confirm agreement by DMH to accept parolees throughout the
                             revocation process and produce an MOU reciting this agreement.
         12                  (April 30, 2008 Letter, page 7.)
         13
                             DMH understands that parolees who are returned to a CDCR facility
         14                  pending revocation will, upon entry into CDCR, be screened for
                             mental health issues in accord with Reception Center protocols
         15                  described in the Coleman Revised Program Guide. The screening
         16                  occurs within 24 hours of the parolee’’s arrival. Should a parolee
                             awaiting revocation demonstrate mental health issues at this
         17                  screening, the parolee will undergo a mental health assessment by
                             CDCR clinicians and, if eligible, receive those levels of care
         18
                             provided by and within CDCR under Coleman Revised Program
         19                  Guide standards (such as Coordinated Clinical Case Management
                             System, Enhanced Outpatient Program, Mental Health Crisis Bed,
         20                  and Outpatient Housing Unit.) Once revoked, the parolee like any
         21                  other inmate, who requires inpatient (intermediate or acute) care from
                             a Department of Mental Health facility, may be referred and accepted
         22                  for such care so long as the parolee’’s term of confinement following
                             the revocation exceeds 35 days. As is the case with any and all
         23
                             inmates, this minimum 35-day period of confinement enables DMH
         24                  to deliver, and the patient to benefit from, the recovery-based model
                             of care mandated by the consent judgment with the United States
         25                  Department of Justice under the Civil Rights of Institutionalized
         26                  Persons Act (CRIPA).

         27            18.   Attached hereto as Exhibit 13 is a true and correct copy (without attachments) of a
         28 letter from me to Defendants sent by my office on May 16, 2008, notifying Defendants that
                                                            9
                 DECL. OF E. GALVAN IN SUPPORT OF PLS.’ MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS
[219089-1]       TO INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
                  Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 12 of 14


             1 DMH’s refusal to treat persons confined by CDCR on pending parole violation charges was a
             2 violation of orders in Coleman and would be brought to the attention of the Court.
             3         19.    On or about May 21, 2008, I participated in a series of telephone conferences at
             4 which the parties agree to jointly seek an extension of time of the June 15, 2008 implementation
             5 deadline in the January 15, 2008 Order (Exhibit 1 hereto) to August 15, 2008, to allow for a final
             6 meet and confer on the issue of access to DMH, and to present the issue to the Coleman Court if
             7 necessary. In addition, the parties intended to present the due process issues to the Valdivia
             8 Court. The parties agreed that in the interim, CDCR should improve and implement its current
             9 interim (or “gap”) policies under which proceedings are suspended if a parolee cannot participate
         10 in parole proceedings due to mental illness. Under these procedures, proceedings are suspended
         11 for up to 12 months which the parolee receives treatment in CDCR.
         12            20.    On June 6, 2008, I received by email from Supervising Deputy Attorney General
         13 Vickie Whitney, a document titled “Comprehensive Plan Addressing the Needs of Parolees in the
         14 Revocation Process Who Are Mentally Incompetent And/Or Have Serious Mental Disorders
         15 Requiring Mental Health Care Under the Revised Program Guide.” A true and correct copy of
         16 this document is attached hereto as Exhibit 14. This document confirms in several places that
         17 persons confined by CDCR pending revocation charges will not be allowed to access inpatient
         18 care at DMH facilities. The document states at page 1:
         19                   CDCR clinicians may refer only revoked parolees with a minimum
                              35-day term of confinement to the California Department of Mental
         20                   Health (DMH) for inpatient care in accord with the Revised Program
         21                   Guide standards.

         22 The document further provides at page 16:
         23                   Parolees who are awaiting revocation are not eligible for referral to
                              the California Department of Mental Health (DMH) for inpatient care
         24                   in accord with the Revised Program Guide standards.
         25
                              Once placed in revoked status, the parolee who is eligible for
         26                   inpatient DMH care under Revised Program Guide standards may be
                              referred for such care so long as he or she has a minimum 35-day
         27                   confinement term.
         28
                                                                10
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                  Case 2:90-cv-00520-KJM-SCR         Document 2847       Filed 06/25/08    Page 13 of 14


             1 The document at Exhibit 14 page 7 confirms restrictions on attorney access to clients in Mental
             2 Health Crisis Bed care, and provides for renewable 20-day postponements due to lack of attorney
             3 access to the clients.
             4         21.    To exhaust any and all possibilities of resolving this dispute without intervention,
             5 Plaintiffs’ counsel requested a meeting among Plaintiffs’ counsel, Defendants’ Counsel, and the
             6 Coleman and Valdivia Special Masters, with DMH officials present. Deputy Attorney General
             7 Lisa Tillman stated that Defendants would only participate in such a meeting on two conditions,
             8 (1) that the Special Master Lopes be present, and, (2) that “DMH understands that any statements
             9 made by any person at the meeting will be viewed as made within the context of a negotiation
         10 and so not subject to use or reference at any later proceeding in this or any other matter.”
         11 Attached as Exhibit 15 are true and correct copies of the June 3, 2008 email from Ms. Tillman
         12 stating these conditions, and the June 5, 2008 email from my office agreeing to these conditions.
         13            22.    I attended the above-mentioned meeting with CDCR and DMH on June 9, 2008.
         14 Also present for and participating in the meeting were Valdivia Special Master Chase Riveland,
         15 Coleman Special Master Matthew Lopes, Coleman expert Dr. Jeff Metzner, Deputy Attorneys
         16 General Lisa Tillman, Vickie Whitney, and Jessica Devencenzi, DMH Counsel Cynthia
         17 Rodriguez, Health and Human Services Agency Chief Counsel Frank Furtek, and DMH Deputy
         18 Director Cindy Radavsky.
         19            23.    On June 17, 2008, I attended a meet-and-confer session with Valdivia Special
         20 Master Chase Riveland, Deputy Special Master Ginny Morrison, and numerous representatives
         21 of CDCR regarding the procedures for accused parole violators with mental illness apart from
         22 DMH access. At that meeting Plaintiffs’ counsel informed all present that we would bring this
         23 motion promptly regarding DMH access, but would defer a motion of the overall due process
         24 policies pending further changes, particularly to the lack of attorney access to clients in
         25 treatment, provided that immediate efforts were made to improve the interim or “gap” processes.
         26 Because the interim or “gap” processes leave parolees in “suspended” revocation state for up to
         27 twelve months, it is essential that the DMH access issue be resolved promptly.
         28
                                                                 11
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                  Case 2:90-cv-00520-KJM-SCR          Document 2847      Filed 06/25/08     Page 14 of 14


             1         24.     Attached hereto as Exhibit 16 is a true and correct copy of the Stipulated Order for
             2 Permanent Injunctive Relief in Valdivia, Docket No. 1034. The Valdivia Permanent Injunction
             3 requires that accused parole violators receive notice of the charges against them no later than 3
             4 business days after the parole hold, appointment of counsel with a consultation no later than 8 to
             5 9 business days after the hold, a probable cause hearing no later than 13 business days after the
             6 parole hold is placed, and a full revocation hearing no later than 35 calendar days after the parole
             7 hold is placed. Exhibit 16 ¶¶ 11(b)(iii); 11(b)(iv); 11(d); 13, 23; id. at Exh. A, Valdivia Remedial
             8 Plan Outline.
             9         I declare under penalty of perjury under the laws of California and the United States, that
         10 the foregoing is true and correct, and that this declaration is executed in San Francisco,
         11 California on June 25, 2008.
         12
         13
                                                                  /s/ Ernest Galvan
         14                                                       Ernest Galvan
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